        Case 2:21-cv-00177-SRB    Document 110     Filed 12/31/24   Page 1 of 1

                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     DEC 31 2024
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 GRAND CANYON UNIVERSITY,                      No. 23-15124

               Plaintiff - Appellant,
                                               D.C. No. 2:21-cv-00177-SRB
   v.                                          U.S. District Court for Arizona,
                                               Phoenix
 MIGUEL A. CARDONA, in his official
 capacity as Secretary of the United           MANDATE
 States Department of Education and
 U.S. DEPARTMENT OF
 EDUCATION,

               Defendants - Appellees.


        The judgment of this Court, entered November 08, 2024, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
